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S C H I L L E R




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                    14                  UNITED STATES DISTRICT COURT
                    15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT                       Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,
                                                                       JOINT STATEMENT REGARDING
                    18                Plaintiffs,                      LOCAL RULE 7-3 PRE-FILING
                    19                                                 CONFERENCE ON PLAINTIFFS’
                               v.                                      INTENTION TO FILE A MOTION
                    20                                                 FOR ALTERNATIVE SERVICE
                    21 STATE OF QATAR, STONINGTON                      PURSUANT TO FRCP 4(F)(3)
                       STRATEGIES LLC, NICOLAS D.
                    22 MUZIN, GLOBAL RISK ADVISORS                     The Honorable John F. Walter
                    23 LLC, KEVIN CHALKER, DAVID
                       MARK POWELL, MOHAMMED BIN
                    24 HAMAD BIN KHALIFA AL THANI,                      Amended Complaint: May 24, 2018
                    25 AHMED AL-RUMAIHI, and DOES 1-                    Discovery Cut-Off: March 1, 2019
                       10,                                              Pretrial Conference Date: June 7,
                    26                                                  2019
                    27                Defendants.                       Trial Date: June 25, 2019

                    28
                                                                                            Case No. 18-cv-02421-JFW
                                   JOINT STATEMENT REGARDING LOCLA RULE 7-3 PRE-FILING CONFERENCE ON PLAINTIFF’S
                         ActiveUS 169385962v.1 INTENTION TO FILE MOTION FOR ALTERNATIVE SERVICE UNDER FRCP 4(F)(3)
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                     1         In accordance with Section 5(b) of this Court’s Standing order, this is
                     2 the joint statement of Plaintiffs Broidy Capital Management LLC and Elliott
                     3 Broidy (“Plaintiffs”), Defendants Nicolas Muzin and Stonington Strategies
                     4 (collectively, “Stonington Defendants”) and Global Risk Advisors and Kevin
                     5 Chalker, (collectively, “GRA Defendants”) regarding the parties’ pre-filing
                     6 conference of counsel pursuant to Local Rule 7-3.
                     7         The parties’ initial Local Rule 7-3 conference took place via
L L P




                     8 teleconference at 2:30 P.M. Eastern Standard Time on August 9, 2018.
F L E X N E R




                     9 Robert Dwyer and Samuel Kleiner participated on behalf of the Plaintiffs.
                    10 David Gringer and Hallie Levin participated on behalf of the GRA
                    11 Defendants. Stephen Obermeier participated for the Stonington Defendants.
S C H I L L E R




                    12 The teleconference lasted approximately ten minutes. Six days before the
                    13 conference, after Plaintiffs’ requested a meet and confer, Counsel for the GRA
                    14 Defendants wrote to the Plaintiffs asking “on what basis do Plaintiffs believe
                    15 alternate service is appropriate?” Plaintiffs did not respond. As a result,
B O I E S




                    16 during the meet and confer, Defendants requested additional time to consider
                    17 Plaintiffs’ position and a second teleconference was held on August 15, 2018
                    18 at 3:00 P.M. Eastern Standard Time with the same participants. That
                    19 teleconference lasted approximately twenty minutes.
                    20         I.     Parties’ Positions on Plaintiffs’ Motion for Alternative
                    21                Service Pursuant to Rule 4(f)(3)
                    22
                               Plaintiffs informed Defendants that they intend to file a Motion for
                    23
                         Alternative Service pursuant to Federal Rule of Civil Procedure (“FRCP”)
                    24
                         4(f)(3), which allows for service “by other means not prohibited by
                    25
                         international agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3). Plaintiffs
                    26
                    27
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                     1 stated that they would seek alternative service for defendants David Mark
                     2 Powell, Ahmed Al-Rumaihi and Mohammed bin Hamad bin Khalifa Al
                     3 Thani. Plaintiffs stated that they would seek to serve Mr. Powell through
                     4 Wilmer Hale LLP, which represents GRA in this action. Plaintiffs stated that
                     5 they would seek to serve Mr. Al Thani through Covington Burling LLP,
                     6 which represents the State of Qatar. Plaintiffs stated that they would seek to
                     7 serve Mr. Al-Rumaihi through Jones Day LLP, which represents Mr. Al-
L L P




                     8 Rumaihi in a separate civil suit in the Central District of California.
F L E X N E R




                     9         The GRA Defendants explained that they had written to the Plaintiffs
                    10 six days before the meet and confer asking “on what basis do Plaintiffs
                    11 believe alternate service is appropriate,” and Plaintiffs had not responded. As
S C H I L L E R




                    12 a result, during the meet and confer, Defendants requested additional time to
                    13 consider Plaintiffs’ position and consider the facts and law that Plaintiffs felt
                    14 justified alternate service.
                    15         Plaintiffs stated that service under Rule 4(f)(3) is not subordinate to
B O I E S




                    16 other forms of service and that the Ninth Circuit and District Courts within the
                    17 Circuit have repeatedly allowed for service of foreign defendants through
                    18 alternative means. Plaintiffs noted that under “[t]o establish that service of
                    19 process under Rule 4(f)(3) is appropriate in a given case, a plaintiff must show
                    20 that (1) international agreement does not prohibit the service; and (2) that the
                    21 service is ‘reasonably calculated to provide actual notice’ to the defendant.”
                    22 Carrico v. Samsung Elecs. Co., No. 15-CV-02087-DMR, 2016 WL 2654392,
                    23 at *3 (N.D. Cal. May 10, 2016) (quoting Rio Properties, Inc. v. Rio Int'l
                    24 Interlink, 284 F.3d 1007, 1014-1016 (9th Cir. 2002)).
                    25         Plaintiffs stated that the proposed method of service was “not
                    26 prohibited by international agreement,” as required under Rule 4(f)(3).
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                     1 Plaintiffs stated that nothing in the Hague Convention on the Service Abroad
                     2 of Judicial and Extrajudicial Documents in Civil or Commercial Matters, Nov.
                     3 15, 1965, 20 U.S.T. 361, 658 U.N.T.S. 163 would bar serving defendants
                     4 through U.S. counsel. Carrico v. Samsung Elecs. Co., No. 15-CV-02087-
                     5 DMR, 2016 WL 2654392, at *4 (N.D. Cal. May 10, 2016). (“N]othing in the
                     6 Hague Convention bars Plaintiffs’ requested service on [Defendant] through
                     7 h[is] attorney.”) .
L L P




                     8         Plaintiffs stated that these specific counsel had been selected because
F L E X N E R




                     9 they believed that it would ensure that the process served actually reached the
                    10 Defendants. Plaintiffs explained that service on Wilmer Hale LLP would be
                    11 likely to reach Mr. Powell because the law firm represents his employer,
S C H I L L E R




                    12 GRA, in this matter. Plaintiffs explained that service on Jones Day LLP
                    13 would be likely to reach Mr. Al Rumaihi because the law firm represents him
                    14 in another civil action in the Central District of California. Plaintiffs
                    15 explained that service on Covington Burling LLP would be likely to reach Mr.
B O I E S




                    16 Al Thani because the law firm represents the State of Qatar in this matter and
                    17 Mr. Thani is a member of the Qatari Royal Family (the brother of the Emir).
                    18         Plaintiffs stated that service under Rule 4(f)(3) is not subordinate to
                    19 service under Rule 4(f)(1) or Rule 4(f)(2). Under, Rio Properties, Inc. v. Rio
                    20 Int'l Interlink, 284 F.3d 1007 (9th Cir. 2002), “Rule 4(f)(3) is one of three
                    21 separately numbered subsections in Rule 4(f), and each subsection is
                    22 separated from the one previous merely by the simple conjunction ‘or.’ Rule
                    23 4(f)(3) is not subsumed within or in any way dominated by Rule 4(f)'s other
                    24 subsections; it stands independently, on equal footing. Moreover, no language
                    25 in Rules 4(f)(1) or 4(f)(2) indicates their primacy, and certainly Rule 4(f)(3)
                    26 includes no qualifiers or limitations which indicate its availability only after
                    27
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                     1 attempting service of process by other means.” Id. at 1015.
                     2         Plaintiffs stated that specifically in this case Judge Eick has recognized
                     3 that service under Rule 4 does not require personal service, in ruling that
                     4 “[u]nlike other rules, Rule 45(b) does not expressly permit service by mail or
                     5 service electronically. The authors of the Federal Rules of Civil Procedures,
                     6 and the United States Supreme Court which approves amendments to the
                     7 Federal Rules, obviously know how to create a rule which unambiguously
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                     8 authorizes such service (or unambiguously authorizes a court to permit such
F L E X N E R




                     9 service).” (ECF No. 196 at 3).
                    10         In the first teleconference, the GRA Defendants inquired as to attempts
                    11 that had been made to locate and serve these Defendants. The GRA
S C H I L L E R




                    12 Defendants explained that to invoke service under Rule 4(f)(3), a plaintiff has
                    13 the burden to “demonstrate that the facts and circumstances of [his or her]
                    14 case necessitate[] the district court’s intervention.” Rio Properties, Inc. v. Rio
                    15 Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002) (emphasis added).
B O I E S




                    16         The Plaintiffs explained that they had attempted to serve Mr. Al-
                    17 Rumaihi at a former residence in Los Angeles but that they’d been unable to
                    18 find him there. Plaintiffs explained that they had been unable to locate any of
                    19 these Defendants and stated that it’s difficult to attempt service on a person if
                    20 you don’t know where that person is. The GRA Defendants inquired whether
                    21 additional attempts had been made to locate any of the three Defendants or
                    22 whether there had been any attempts to serve any of the three Defendants and
                    23 were told that there had not been.
                    24         In the second teleconference, the GRA Defendants took the position
                    25 that the Plaintiffs have not yet made sufficient efforts to locate or serve these
                    26 Defendants and that simply stating that the Defendants could not be found was
                    27
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                     1 insufficient. The GRA Defendants again asked whether Plaintiffs had made
                     2 more than the one attempt at serving Mr. Al-Rumaihi at a former address, and
                     3 were told that Plaintiffs had been unable to locate these individuals. The GRA
                     4 Defendants explained that, without more, this did not discharge Plaintiffs’
                     5 burden because they had provided no evidence of diligence in attempting to
                     6 locate the Defendants.
                     7         The GRA Defendants also asked whether Plaintiffs had looked for the
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                     8 Defendants in Qatar since the First Amended Complaint alleges that (a) Mr.
F L E X N E R




                     9 Powell is the “Principal Agent of GRA in Qatar,” FAC ¶ 24, (b) Mr. Al-
                    10 Rumaihi is a “citizen of the State of Qatar,” FAC ¶ 28, and (c) Mr. Al-Thani is
                    11 “a brother of the Emir of Qatar.” FAC ¶ 26. Plaintiffs did not respond.
S C H I L L E R




                    12 Plaintiffs stated that, moreover, service under Rule 4(f)(3) does not require
                    13 exhaustion of service attempts under Rule 4(f)(1) and Rule 4(f)(2).
                    14         At the Plaintiffs’ request, the GRA Defendants pointed to multiple court
                    15 decisions requiring Plaintiffs to explain why service by alternate means was
B O I E S




                    16 necessary and rejecting attempts to serve by alternate means when plaintiffs
                    17 did not make a reasonable effort to locate or serve the defendants. See, e.g.,
                    18 Kowalski v. Anova Food, LLC, 2012 WL 3308886 (D. Haw. Aug. 10, 2012)
                    19 (rejecting service by alternate means where, inter alia, “it does not appear that
                    20 Plaintiffs have attempted” to serve the Defendant); Recouvreur v. Carreon,
                    21 2012 WL 12920768, at *2 (N.D. Cal. Oct. 15, 2012) (rejecting service by
                    22 alternate means and distinguishing Rio Properties because there plaintiffs had
                    23 made “multiple attempts at conventional service”); see also Bortolus v.
                    24 Magical Cruise Co., Ltd., No. 07-cv-1864, 2008 WL 2595105, at *1
                    25 (M.D.Fla. June 20, 2008) (denying motion for service through counsel
                    26 because plaintiffs had not yet made a “good faith effort” to effect service); 4B
                    27
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                     1 Wright & Miller, Fed. Prac. & Proc. Civ. 3d § 1134 (“[Rule 4(f)(3)] permits
                     2 service in a particular case to be tailored to the necessities of the situation
                     3 when none of the other methods of service expressly provided for in the rule is
                     4 satisfactory or likely to be successful.” (emphasis added)). The GRA
                     5 Defendants also explained that plaintiffs are incorrect in contending that a
                     6 court should not consider whether a plaintiff “attempt[ed] other means of
                     7 service” before granting relief under Rule 4(f)(3). See Pls. Mot. at 8. Indeed,
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                     8 in Rio Properties, the Ninth Circuit specifically considered plaintiff’s efforts
F L E X N E R




                     9 to effect service through “conventional means,” including, inter alia, “hiring a
                    10 private investigator” to discover the defendant’s undisclosed “whereabouts in
                    11 Costa Rica,” before affirming the district court’s discretionary decision to
S C H I L L E R




                    12 allow service under Rule 4(f)(3). Rio Props., 284 F.3d at 1015.
                    13         The Stonington Defendants did not take a position on this.
                    14         In the second teleconference, Plaintiffs asked Defendants whether they
                    15 had 1) knowledge about the whereabouts of the Defendants or someone who
B O I E S




                    16 would be willing to accept service on their behalf (beyond what had been in
                    17 the Complaint) and 2) whether they would be willing to share that
                    18 information. Plaintiffs conceded that the Defendants were not required to
                    19 answer these questions and the GRA Defendants stated that they were, in fact,
                    20 not going to answer those questions.
                    21         In the second teleconference, Plaintiffs invited the views of the
                    22 Defendants as to Plaintiffs’ position that alternative service through U.S.
                    23 counsel was “not prohibited by international agreement,” as required under
                    24 Rule 4(f)(3). The GRA Defendants stated that this was the first time that
                    25 question had been asked, and that they would examine the question.
                    26         In the second teleconference, the GRA Defendants again explained that
                    27
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                     1 Plaintiffs had not set forth any facts that would suggest that they had even
                     2 looked for the Plaintiffs before simply concluding that the Plaintiffs could not
                     3 be found.
                     4               Though the call ended before this point could be discussed, the
                     5 GRA Defendants also object to service by alternate means because Plaintiffs
                     6 have not provided any evidence that any of the Defendants have sought to
                     7 evade service, and Plaintiffs should be capable of locating the three
L L P




                     8 Defendants at issue on their own with reasonable effort, in light of their own
F L E X N E R




                     9 allegations regarding the Plaintiffs’ whereabouts. Finally, service by
                    10 alternate means must comport with “constitutional notices of due process.”
                    11 Rio Properties, 284 F.3d at 1016. To meet this requirement, the “method of
S C H I L L E R




                    12 service crafted by the district court must be reasonably calculated, under all
                    13 the circumstances, to apprise interested parties of the pendency of the action
                    14 and an opportunity to present their objections.” Id. Plaintiffs’ proposal to
                    15 serve U.S. law firms who do not represent the Defendants in this action fails
B O I E S




                    16 this standard as Plaintiffs have not shown that service on the firms would
                    17 result in notice to the Defendants or that those firms have been authorized to
                    18 accept service on any of the Defendants’ behalf. See, e.g., Glob. Discoveries,
                    19 Ltd. v. Realtec, Ltd., No. 12-CV-05186 NC, 2013 WL 4377766, at *4 (N.D.
                    20 Cal. Aug. 13, 2013) (request for service through counsel under Rule 4(f)(3)
                    21 “must be based on facts showing that such service is reasonably calculated to
                    22 give actual notice of the case to [the defendant]”); Madu, Edozie & Madu,
                    23 P.C. v. SocketWorks Ltd. Nigeria, 265 F.R.D. 106, 119–20 (S.D.N.Y. 2010)
                    24 (service on law firm “may not satisfy constitutional due process” absent the
                    25 existence of an attorney-client relationship).
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F L E X N E R




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                      1                        SIGNATURE CERTIFICATION
                      2        Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
                      3 listed, and on whose behalf the filing is submitted, concur in the filing’s
                      4 content and have authorized this filing.
                      5
                      6
                          Dated: August 21, 2018             BOIES SCHILLER FLEXNER LLP
                      7
L L P




                                                             By:   /s/ Lee S. Wolosky
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                                                                   Lee S. Wolosky
F L E X N E R




                      9
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S C H I L L E R




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